Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 1 of 12 PageID #: 6404




                                 Exhibit A




    YCST01:10074299.1   067051.1001
Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 2 of 12 PageID #: 6405




                                 IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF DELAWARE


    BELDEN TECHNOLOGIES, INC. and
    BELDEN CDT (CANADA) INC.,

                        Plaintiffs
                 v.                                           Civil Action No. 08-063-SLR
    SUPERIOR ESSEX INC. and
    SUPERIOR ESSEX COMMUNICATIONS LP,                          Jury Trial Demanded

                        Defendants.




                                        JURY QUESTIONNAIRE


            This questionnaire relates to a civil case that involves patents relating to

    telecommunications cables and methods of manufacturing them.

            You have been selected to be part of the pool of people from which the jury in

    this case will be selected. The purpose of this questionnaire is to help the parties and the

    Court to select a fair and impartial jury. Please answer the following questions honestly

    and to the best of your ability. All of the answers that you give will be kept confidential

    by the Court and by the parties.




    YCST01:10074299.1         067051.1001
Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 3 of 12 PageID #: 6406




    Your name:


    1. Your age:


    2. Your marital status:

            Single (never married)                     Separated/Divorced
            Currently married                          Widowed


    3. What is your last or highest level of school completed?

            High School                         HS Diploma?
            Tech/Trade School                   Area of Study?
            College/University                  Degree & Field?
            Graduate School                     Degree & Field?
            Other (specify)


    4. What was your favorite subject in school?

            English/Language                    Social Studies
            Science/Engineering                 Physical Education
            Mathematics                         Art/Music
            Other (specify)


    5. Which best describes your current employment status?

            Employee, full-time                 Retired
            Employee, part-time                 Disabled/Unemployed
            Homemaker                           Unemployed/Looking
            Self-employed                       Full time Student




    YCST01:10074299.1     067051.1001          2
Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 4 of 12 PageID #: 6407




    6. Who employed you during the last 10 years?

        Employer                      Number of Years    Is that a small company, large
                                                         company government agency or
                                                         self employment?




    7. What is (was) your title and are (were) your main responsibilities at your current or
    most recent job?




    8. Does (did) that job involve design, selection, purchase, installation or maintenance of
    cables, wiring, or local area networks?

            Yes                No

            If yes, please explain:




    9. Have you or any close relative ever served in the military?

            Yes               No

            If yes, who specifically (you/relative)?

            If yes, what branch?

            When?


    YCST01:10074299.1      067051.1001            3
Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 5 of 12 PageID #: 6408




    10. Have you or any close relative ever worked for an agency of the federal government?

            Yes ____ No ____

            If yes, who specifically (you/relative)?

            If yes, what agency or agencies?

            What work was performed?


    11. Do you have any special training, education, or experience in the following areas?
    (Check all that apply)

            Electronics                    Telecommunications
            Physics                        Mathematics
            Engineering                    Data Transmission Cables
            Marketing                      Networking
            Patents                        Research/Development
            Law                            Telecommunication Cable Standards
            Contracts                      Computer Network Architecture


        12a. For each area checked above, please describe what training, education or
        experience you have had.




    12. Please identify any other areas of special training, education, or experience here:




    YCST01:10074299.1      067051.1001            4
Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 6 of 12 PageID #: 6409




    13. If you are married, what is (was) your spouse’s occupation and who is (was) your
    spouse’s employer?




    14. Have you ever invented anything?

            Yes                No

            If yes, please explain:




    15. Has a relative or close personal friend of yours ever invented anything?

            Yes                No

            If yes, please explain:




    16. Are you listed as an inventor on any U.S. Patents?

            Yes                No


    17. Have you ever attempted to obtain a U.S. Patent?

            Yes                No


    18. Do you know anyone who has obtained, or attempted to obtain, a U.S. Patent?

            Yes                No




    YCST01:10074299.1      067051.1001          5
Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 7 of 12 PageID #: 6410




    19. Does your current employer (or most recent employer) own any U.S. Patents?

            Yes                    No                  Don’t know


    20. How closely do you follow the news?

                        Very closely
                        Somewhat closely
                        Not too closely
                        Not closely at all


    21. How knowledgeable do you consider yourself to be about patents and obtaining a
    patent?

                        Very knowledgeable
                        Somewhat knowledgeable
                        Not too knowledgeable
                        Not at all knowledgeable


    22. What knowledge or opinions do you have about patents or the process by which
    patents are obtained?




    23. How do you feel about the fact that a patent may allow an inventor or patent owner to
    profit from his or her invention?




    24. How do you feel about the fact that a patent grants exclusive rights to an invention to
    the inventor or to someone to whom the rights are assigned?




    YCST01:10074299.1          067051.1001         6
Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 8 of 12 PageID #: 6411




    25. Has any government entity (federal, state, or local) ever made a mistake that directly
    affected you? If yes, please explain.




    26. Have you ever served on a jury before?

              Yes                No

              If yes, please state the year and whether the trial involved a civil or criminal
    matter:



    27. Have you or a family member ever filed a lawsuit or claim against someone?

              Yes                No


    28. Have you or a family member ever been sued or had a claim filed against you?

              Yes                No


    29. Have you ever had your deposition taken or been a witness in court?

              Yes                No


    30. Do you have any personal knowledge of this case, or have you read about or heard it
    discussed, or have an opinion regarding it?

              Yes                No

              If yes, please elaborate:




    YCST01:10074299.1        067051.1001            7
Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 9 of 12 PageID #: 6412




    31. Do you have any relationship or affiliation with any of the following law firms or
    their employees, including any of the following attorneys (check if yes):

    ________ Foley & Lardner LLP
        _________Matthew B. Lowrie
        _________ Robert J. Silverman
        _________ Michelle A. Flores
        _________ Mark N. Henschke
        _________ Matthew A. Ambros
        _________ Ary Chang


    ________ Lowrie, Lando, & Anastasi LLP
        _________ Thomas P. McNulty


    ________ Young Conaway Stargatt & Taylor, LLP
        _________John W. Shaw
        _________ Karen E. Keller
        _________ Pilar W. Kraman
        _________ Adam Poff


    ________ King & Spalding LLP
        _________ Holmes J. Hawkins
                        Natasha H. Moffitt
        _________ James J. Mayberry
        _________ Russell E. Blythe
        _________ Laura Huffman


    ________ Richards, Layton, & Finger
        _________Anne Shea Gaza
        _________ Jeffrey L. Moyer
        _________ Lori A. Brewington

    YCST01:10074299.1         067051.1001       8
Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 10 of 12 PageID #: 6413




    32. Are you related to, or personally acquainted with, any of the following individuals?
        _________ Kristina Anderson

        _________ Jean Baer

                        Les Baxter

                        Thomas Blackburn

                        Martin L. Belanger

                        Douglas Brenneke

                        Sharon Cardinal

                        William T. Clark

                        Kenneth Consalvo

                        Joseph Dellagala

                        Clement Gagon

                        Galen M. Gareis

                        Mark Horenstein

                        Paul P. Kish

                        Michael Klepper

                        Peter D. MacDonald

                        Christopher McNutt

                        Paul Neveux

                        Gregory Niemiera

                        Gerald Pavlicek

                        James Tyler

                        Paul Z. Vanderlaan

                        Timothy Waldner

                        Jorg-Hein Walling


    YCST01:10074299.1         067051.1001       9
Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 11 of 12 PageID #: 6414




    33. Have you or any of your family or close personal friends ever owned stock in, been
    employed by, or had any other connection to any of the following companies or
    institutions:

             Belden CDT (Canada) Inc.

             Belden Inc.

             Belden Technologies, Inc.

             Cable Design Technologies, Inc.

             Essex International Inc.

             LS Cable Ltd.

             LS Cable America, Inc.

             LS Corporation

             Mohawk Wire & Cable Corporation

             Superior Essex Inc.

             Superior Essex Communications LP

             Superior TeleCom Inc.

    If yes, please explain:____________________________________________________




    YCST01:10074299.1        067051.1001       10
Case 1:08-cv-00063-SLR Document 213-1 Filed 08/20/10 Page 12 of 12 PageID #: 6415




    34. Do you have any special disability or problem that would make it difficult or
    impossible for you to serve as a member of the jury in this case?

    Yes ______                            No ______

    If yes, please elaborate:




    35. Do you know of any other matter which you believe should be called to the Court’s
    attention as having some bearing upon your qualifications or ability to sit as a juror, or
    which you think may prevent you from rendering a fair and impartial verdict based solely
    upon the evidence and my instructions as to the law?

    Yes ______                            No ______

    If yes, please elaborate:




    Your signature:

    Date signed:




    YCST01:10074299.1      067051.1001          11
